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                       UNITED STATES DISTRICT COURT
                                       District of Minnesota



Darlene Leisen,                                      JUDGMENT IN A CIVIL CASE
                                    Plaintiff,
v.                                                   Case Number:    17-cv-3969 JRT/KMM
Synchrony Bank, N.A.,
                                    Defendant.




☒ Decision by Court. This action came to trial or hearing before the Court. The issues have
  been tried or heard and a decision has been rendered.


     IT IS ORDERED AND ADJUDGED THAT:

           this action is DISMISSED WITH PREJUDICE, each party to bear its own costs,

     disbursements, and attorney’s fees.




     Date: 1/10/2018                                      KATE M. FOGARTY, CLERK

                                                              s/Amy Halverson
                                                     (By) Amy Halverson, Deputy Clerk
